.U.S. Department
       Case 8:25-cv-00951-PX
                 of Justice
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                                                           Decision of the Board of Immigration Appeals
Executive Office for Immigration Review

Falls Church, Virginia 22041


File:                    - Baltimore, MD                   Date:

In re: Kilmer Armado ABREGO-GARCIA                                         DEC 1 9 2019
IN BOND PROCEEDINGS

APPEAL

ON BEHALF OF RESPONDENT: Lucia Curiel, Esquire

ON BEHALF OF OHS: Jennifer L. Hastings
                  Assistant Chief Counsel

APPLICATION: Redetermination of custody status



    The respondent, a native and citizen of El Salvador, appeals from an Immigration Judge's
April 24, 2019, decision denying his request for release on bond from the custody of the
Department of Homeland Security pursuant to section 236(a) of the Immigration and Nationality
Act, 8 U.S.C. § 1226(a). On May 22, 2019, the Immigration Judge issued a memorandum setting
forth the reasons underlying her conclusion that the respondent did not show that he is not a danger
to the community or that he presents a flight risk capable of being mitigated by bond. The appeal
will be dismissed.

     This Board reviews the Immigration Judge's factual findings for clear error. 8 C.F.R.
§ 1003. l(d)(3)(i); see also Matter of Fatahi, 26 I&N Dec.791, 793 n.2 (BIA 2016). We review
all other issues de novo. 8 C.F.R. § l 003. l (d)(3)(ii).

    An alien "must demonstrate to the satisfaction of (the Immigration Judge] that [his or her]
release would not pose a danger to property or persons . .. . " 8 C.F.R. § 1236.l(c)(8); see also
Matter ofAdeniji, 22 I&N Dec. 1102, 1111-12 (BIA 1999). Thus, only if an alien has established
that he or she would not pose a danger to persons or property should an Immigration Judge decide
the amount of bond necessary to ensure the alien's presence at proceedings to remove him or her
from the United States. Matter of Urena, 25 I&N Dec. 140, 141 (BIA 2009).

    The respondent argues that the Immigration Judge clearly erred in determining that he is a
verified member of MS-13 because there is no reliable evidence in the record to support such a
finding (Respondent's Br. at 6-9). In this regard, the respondent asserts that a Prince George's
County Police Department Gang Field Interview Sheet ("GFIS") is based on hearsay relayed by a
confidential source (Exh. 4). The respondent also claims that he presented sufficient evidence to
rebut the allegation that he is affiliated with MS-13, including character references and criminal
records showing that he has only been charged with traffic offenses. Therefore, the respondent
contends that the Immigration Judge erroneously ruled that he did not show that he is not a danger
to the community (Respondent's Br. at 9-10).
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